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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 21-22701-CIV-ALTMAN/Reid

  RAMIRO ORTA,

         Plaintiff,

  v.

  CALIBURN INTERNATIONAL, LLC,

        Defendant.
  _________________________________________/

                         ORDER OF DISMISSAL WITH PREJUDICE

         The Parties filed a Joint Stipulation of Dismissal with Prejudice [ECF No. 41] in accordance

  with Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Being fully advised, the Court hereby ORDERS

  AND ADJUDGES that this matter is DISMISSED with prejudice. Each party shall bear its own

  fees and costs. This case shall remain CLOSED. All pending deadlines and hearings are

  TERMINATED, and any pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Miami, Florida, this 3rd day of August 2022.




                                                      _________________________________
                                                      ROY K. ALTMAN
                                                      UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
